Case 1:14-cV-O7630-ER Document 1 Filed 09/19/14 Page 1 of 19

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

______...._._.._____............._.____._.X

NORTH JERSEY MEDIA GROUP INC.,

Plaintiff,

 

-against-

FOX NEWS NETWORK, LLC AND JOHN
DOE NOS. l _ 5,

Defendants.

COMPLAINT AND JURY

 

Plaintiff` North Jersey Medi
its undersigned attorneys, for its complaint against defendants
Fox News Network, LLC (“Fox News”), and John Doe Nos. 1-5
alleges:

Nature of the Action

 

1. NJMG is bringing this action to enforce the
copyright in its iconic photograph of three firefighters raising
the American flag at the ruins of the World Trade Center site on
September 11, 2001 (the “WTC Flag Raising Photograph”).

Jurisdiction and Venue

 

2. This Court has subject matter jurisdiction over
the claim in this action pursuant to 28 U.S.C. §§ 1331 and 1338

because it arises under the Copyright Act, 17 U.S.C. § 101.

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3. Upon information. and_ belief, venue is proper in
this District pursuant to 28 U.S.C. §§ 1391 and 1400(a).
4. Defendants are subject to the personal

jurisdiction of this Court pursuant to C.P.L.R. § 301.

Parties
5. NJMG is engaged in the business of news
reporting. NJMG irs a corporation organized and existing under

the laws of the State of New Jersey, with its principal place of
business in Woodland Park, New Jersey. NJMG is the leading
provider of news and marketing services in northern New Jersey.
The Record and its sister publication, Herald News, are award-
winning daily newspapers that reach nearly half a million readers
a day with local, investigative and enterprise reporting. Forty-
nine community newspapers circulate to 778,000 households across
Bergen, Passaic, Essex, Morris, Hudson, and Sussex counties.
Together, the company‘s daily and community newspapers reach 98%
of homes across Bergen and Passaic counties.

6. FoX News is a limited liability company organized
and existing under the laws of the State of Delaware with its
principal place of business in the State of New York. John Doe
Nos. 1-5 are employees or agents of Fox News, whose identities

are not known to NJMG.

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NJMG’s Copyright

7. On or about September 11, 2001, an employee of
NJMG, acting within the scope of his employment, took the WTC
Flag Raising Photograph, a copy of which is annexed as Exhibit A.
The WTC Flag Raising Photograph has become an iconic image that
has received international attention. Because an employee of
NJMG took the WTC Flag Raising Photograph while acting within the
scope of his employment, it is a "work made for hire" as defined
by § 101 of the Copyright Act. NJMG is therefore the sole owner
of the copyright in the WTC Flag Raising Photograph.

Defendants’ lnfringing Acts

 

8. On or about September 10, 2014, defendants, their
agents, or their employees, without permission, posted a copy of
the WTC Flag Raising Photograph to the Facebook page they
maintain for Bret Baier, the host of “Special Report with Bret
Baier,” on the web page www.facebook.com/BretBaierSR (the “Bret
Baier Facebook page”), a copy of which is annexed as EXhibit B.

9. On September 15, 2014, NJMG, through its counsel,
notified. Fox News of the infringement by sending' an e-mail to
Dori Ann Hanswirth, Esg., and Nathaniel S. Boyer, Esg., FoX News'
outside counsel.

10. As of September 19, 2014, Fox News has not removed

the WTC Flag Raising Photograph from‘ the Bret Baier Facebook

page.

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11. This is not the first time Fox News has made an
unauthorized use of the WTC Flag Raising Photograph. On October
9, 2013, NJMG filed a complaint in this Court against one of Fox
News’ television personalities, Judge Jeanine Pirro, for
infringing NJMG's WTC Flag Raising Copyright. The action is
captioned North Jersey Media Group lnc. v. Pirro, 13 Civ. 7153
(ER). On `February 20, 2014, acting on information Fox News
provided, NJMG amended its complaint in that action to name Fox
News as a defendant.

CLAIM FOR RELIEF
(Copyright lnfringement - 17 U.S.C. § 501)

12. NJMG repeats the allegations in paragraphs 1
through 11 as if set forth in full.

13. NJMG owns, registered and received the United
States Certificate of Copyright Registration No. VA 1-014~297 for
the WTC Flag Raising Photograph ("WTC Flag Raising Copyright"). A
copy of the certificate is annexed as Exhibit C.

14. NJMG’s WTC Flag Raising Copyright is valid and
enforceable.

15. Defendants have infringed NJMG’s WTC Flag Raising
Copyright in violation of 17 U.S.C. § 501 by using it to
advertise and promote the “Special Report with Bret Baier”
television program. Specifically, the web page,

www.facebook.com/BretBaierSR, advertised “Special Report with

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Bret Baier” and embedded video clips from the show. The post that
infringed NJMG’s WTC Flag Raising Copyright featured the hashtags
#FoxNews and #SpecialReport.

n 16. Defendants’ acts have irreparably damaged and,
unless enjoined, will continue to irreparably damage NJMG. NJMG
has no adequate remedy at law for these wrongs and injuries.
NJMG is, therefore, entitled to a preliminary and permanent
injunction restraining and enjoining defendants, their agents,
servants, employees, and attorneys and all persons acting in
concert with them, from infringing NJMG's WTC Flag Raising
Copyright.

17. Defendants have willfully infringed NJMG’s WTC
Flag Raising Copyright.

18. NJMG is entitled to recover damages sustained as a
result of defendants' unlawful conduct including defendants'
profits, or alternatively at NJMG’s election, statutory damages.

WHEREFORE, NJMG demands judgment:

A. Preliminarily and permanently enjoining
defendants, their agents, servants, employees, and attorneys and
all those acting in concert with them from infringing NJMG's WTC
Flag Raising Copyright in violation of 17 U.S.C. § 501;

B. Awarding NJMG its damages or defendants' profits,

or alternatively, at NJMG’s election, statutory damages, as a

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result of defendants' infringement of NJMG’s WTC Flag Raising
Copyright;

C. Awarding NJMG its costs in this action, including
its reasonable attorneys’ fees pursuant to 17 U.S.C. § 505; and

D. Granting such other and further relief as to this
Court seems just and proper.
Jury Trial Demand
Pursuant to Rule 38 of the Federal Rules of Civil
Procedure, NJMG hereby demands a trial by jury of all issues in
this action that are so triable.

Dated: New York, New York
September 19, 2014

DUNNEGAN & SCILEPPI LLC

B…W; OW

William Dunnegan (WDO@iB)
wd@dunnegan.com
Richard Weiss (RW4039)
rw@dunnegan.com
Attorneys for Plaintiff
North Jersey Media Group lnc.
350 Fifth Avenue
New York, New York 10118
(212) 332~8300

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EXhibit A

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Case 1

 

 

 

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EXhibit B

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9/11/2014 (4) Bret Baier '

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Brei Baier
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A South African judge Says insCarPisic)rius can't be convicted of murder but
"no doubi" he acted unlawfully When he Shot and killed Reeva Steen|<amp.

£N£G,UHMBH

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Jenna Lee

   

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9/11/2014 (4) Bret Baier

Eric Shawn

   
   

Jon Scott

 

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John A. Nag;ueki Flag: Of course he or his family certainly paid this
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Like ~ 2 ' 4 hours ego

 

 

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This morning in Washington, D.C., the American flag Was lowered over the
Pentagon on the 13th anniversary of the 9/11 attacks

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Todey"~ and every day--we remember each of the victims of §i$i;zptemt.)ei"l ith
terrorist attack and the heroes Who risked everything to he|p.

https://WWW.facebook.com/BretBaierSR 2/7

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9/11/2014

https://www.tacebook.com/BretBaierSR

 

 

(4) Bret Baier
our thoughts ano our prayers are wirn air or me ramiiies arrested ny mar tragic
day and With the entire nation.

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1\526 p<-;-opl<-) like this. `i`on (janm<-ints

 

 

 

Gordon Wott And just like the Alan Jackson song, “Where were you when the
world stopped turning", | remember where l was. emotions. the news coverage
President Bush 43 on the pile, eto... Never let future generations forget

Like ' Reply~ t`>i ~ 17 hours ago ~ Ediied

Patrick Chmmr hith Ntanus | was 12 years o|d, in bed, Mum was
watching TV and saw the second plane hit live…. a horrible thing to see l\/ly
heart goes out always to those who lost a loved one.
l..il<o ~ ii ~ 8 hours ago

 

 

   

Angie i‘ickle Dont forget the attack on American soil 9-11-12 Benghazi
Lil<e ~ F€eply~ 56 ~ 17 hours ego

f*aula Brantley Everyday l get up and the time is an 11. Could be 711,911,1111,
well you get the point | thought when l came to nyc last new year it would go away
finally. But no it remains l will never for get that day or today 9112014. God B|ess
/\merica. God Bless the families of 911.

l. . ‘ E:teply‘ 8 1 17 hours ago

 

 

Tetiaua i\lichoieon l.§j; Forever in our heartsl

United as one we Wil| always never forget the innocent lives so many

taken ..... always remember 9/11, We pray for your peace as We remember the
terrorism attacks

God give us your strength to face the memory of this attack and the changes il
made in our lives... God Bless America!

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Caroie l.eyton '¥itr<:hi Never will iorget...
l..ike - F`\’eply ~ 7 - 'l 7 hours ago

 

   

`§artene Silver l don't see how any person in the United States Who loves his or
her country could over forget 9~11-01 or the 9-11-12 in Benghazil!
Lil-;e - Reply ~ /l ' 9 hours ago ' Edited

Carolyn MoMoran God bless America and those who love her l,;l,l
like - Repl_v - 3 ~ 10 hours ago

Cart)lyri Crabtree 80 sad will never forget

like - R<-:r)ly ' 3 ' 10 hours ago

inge taru)< Coiiins yes we newer Forget
like ' tl'<erilv ‘ 2 ~ ii hours erie

 

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9/11/2014

https://Www.facebook.com/BretBaierSR

 

 

(4) Bret Baier

Alissa l'l*lai'ie Camphr)lt lt still makes me mad. Every American should ST|LL be
angry. They should show footage of that day every single day.
l-ike - t'\‘eply - 2 - 17 hours ago

 

§§ J. terrell Butfer l agree Alissa. And | get more and more angry a your
" government every day
l.ike' 1 ' 11 hours ago

 

 

Jack .fackson Thanks, Bret, for helping to bring clarity to all the confusion and
horror going on around us. And thanks for being the dad and husband you are.
like » Reply- 1 ~ 6 hours ago

Cherie Byrnea Never forgotten.
l_ike ~ Reply - 1 ' 7 hours ago

dean Da§len God bless.

l_il<.t-) ' Roply - ‘ 7 hours ago

E$hirley Noten Prayers for all the families l cried that clay as | watched in
disbelief.
like t Rr.»,ply '

2

' 'r` hours ago

Karlina Stonoy God bless all the men and women,there family‘s and the
firefighters such a sad day ><)<)<><

|..ilre. ~ Roply - 1 ' 7 hours ago

Stan Kaplan Yes, we‘l| remember, but unless and until we have leaders that

have the strength to do what‘s in the best interests of the people instead ot their self
interests, we will never be safe or reach our full potential

Lil<.e 4 F<oply ~ 'i ~ 8 hours ago

Zehbte Srnith Still praying for all the families and praying for America and all the
first responders as l did then!

l..ike - l`\>eply ~ 1 ' t’» hours ago

Nahr:y Kernler Tragicl l am still heart broken over this! May they all R i P
l..il<o ~ Reply ~ ' 9 hours ago

Dehbie Tz~aadwalt Hvorett God bless each familyl God bless Amei'ical
lee - Roply' 1 ‘ 13 hours ago

Cazol Guy we will never forget that day

Lil<e ‘ Reply~ 1 ' 15 hours ago

Doug thank What‘s really sad is how many so-called Americans seem to have
forgotten what happened and how much outcry there Was EVERYWHERE to take
revenge. Now those same people want to blame Bush for doing what the country as
a whole wanted him to do. Pathelic.

t.iko ' l:{oply - t ~ 15 hours ago

l Briki»<o Bree Hayasht Amen!
. like ' Reply- - 16 hours ago

Judy Zandt l live that pic.

l Lil~;o - Rt=).ply' ‘: » 17 hours ago

Ben Sweeriey Pioture speaks a thousand words...The Pub|ic should
acknowledge the towers falling everyday... |t is the real Pledge of Allegianoe...
like ' l~`t`eply ‘ 3 ~ 17 hours ago

Steezy Stevie Never forget how for the first second and third time in history a
high rise steel building was brought down at freefal| speed due to tire

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Shirley hlulsoy Hat:ger A Day don,t think any one can ever Forgel , God Bless
Amerioa an All the Fami|ies
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Raymond ltarper ~lz'. Never willl
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nda Br'omurtd how can anyone who was alive ever forget that day???

Like ‘ l`\°<-:ply - 4 hours ago

Wiliiam King l honor the lives lost by investigating 9/11. The official story doesri't

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Grarn Glr)ria God bless the families who lost loved ones Thankyou.¢t their
f service Gram gloria
l.ike ' Reply - 6 hours ago

 

/ )"N Michael W<.>rsdell no 1 Will forget what happened that day but for the love of god
13 yrs and america still go on about it ppl who lost loved is that day who Werent
' americas hutto bring it up every year is opening the Wounds ppl try and forget but u
american cant stop bringing this up ever year as it becoming a joke
l..il<r,-) ~ Rr,-:ply - 6 hours ago

  

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https://www.facebook.com/BretBaierSR

 

(4) Bret Beier

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Nathantel A Nieei< 9/1‘|/01 end 9/11/12 were both inside jobs, peoplel Wel<e up.
Lii<e ' Reply ' 7 hours ago

 

  
  
  
  
  

Deboreh Pareene“i?»urekhard God Bless Amerieei!!
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Marise Lozemo Respect
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` Bormie Wright amen
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Nick S§rneym Never Forget what you did in Vietnam you animals

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faschists that live in the Bib|e girdle of USA!
l.ii<e ' Reply ~ ii hours ago

Witliam King Question 9/11
' Lii<e » Repiy ' 15 hours ago

thwn Emier Thanl< you Bair
i..ii<e ~ Ronly ~ 'i£i hours ego

Brxrbara woman Saner i was at work and was the first one to hear it end tell my
fellow employees, i had a little radio i kept on low on my desk. when i heard that a
plane had hit one of the twin towers, my first thought was not terrorism. when the
second plan hit, a sunken feeling went thru my body. i pray it never happens again
l.ike ~ Rer)ly - ‘i ' 8 hours ago

Tirn Tert'y Never forget that day and all fellow Americans in shock watching
innocent lives taken as the towers tumb|ed to the ground.

Like » i~`<eply ~ ~ 12 hours ego

Shannon lrieh@iri Marie | have friends who were first responders that went from
searching for survivors to a recovery effort The stories are so sad. We must never
' allow this to happen EVER again.

Like ' imply ~ l ~ 15 hours ago

~` t Anita Veno'zia The horrific event still shocks me Will never believe such a
thing could happen to our be|oved America...
l_il<e » Reply~ 4 i'i hours ego

 

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Bret Baier
19 hours ago

 

President Obama laid out a 4 point strategy for combatting #tS|S--

A few other key points of the speech beloww l_et me know your thoughts

PRESID¥N¥ `OBA VQWS
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9/'|1/2014

https://www.facebook.com/BretBaierSR

 

 

(4) Bret Baier

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Bret Baier
20 hours ago

 

President Obama authorizes U.S. airstrikes in Syria, senior administration
officials say, as the president uses a prime~time address to the nation to call
for a comprehensive campaign to wipe out islamic State.

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' i.iko - iii ' ‘st$ hours ago

 

 

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20 hours ago

 

Amazing photo via Gary l-lershorn--NYC based photojoumalist--on the eve of
the 9/11 anniversary.

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9/11/2014

https://www.facebook.com/BretBaierSR

 

(4) Bret Baier

 

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Mary l,,ou Parker let us never forget that horrible day in Arnerica's history.
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2 Replies

Susan Farmer El}uckett Amazing!
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\/iew more comments 2 of 303

  
  

Bret Baier
~i hours ago

What is the biggest issue we are NOT talking about? The panel weighs in--

#F~"o><i\iews lrSpecialReport

 

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2 of 83

 

 

 

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See l\tt)re Stories w

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EXhibit C

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AMHmmCoMohu?USC7%)
Certifloa`te of Regi.stration_

This C-ertliicate issued under the seal of the Copyright
thce in accordance with title 17, United Si:ates Code,
attests that registration has been made for the work
identified beiow. The information on this certificate has '
been made a part of the Copyright O(Hpe recordsl

 

Register of Copyrights, United States of Ameiica

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